          ORAL ARGUMENT NOT YET SCHEDULED

                            No. 25-1004

       IN THE UNITED STATES COURT OF APPEALS
        FOR THE DISTRICT OF COLUMBIA CIRCUIT


        UNITED STATES STEEL CORPORATION, ET AL.,
                       Petitioners,

                                 v.

THE COMMITTEE ON FOREIGN INVESTMENTS IN THE UNITED
                  STATES, ET AL.,
                    Respondents.


   On Petition for Review of Actions of President Biden and of the
      Committee on Foreign Investment in the United States


    NOTICE OF INTENT BY ALLEGHENY CONFERENCE ON
  COMMUNITY DEVELOPMENT TO FILE AMICUS CURIAE
         BRIEF IN SUPPORT OF PETITIONERS


Dated: February 7, 2025         Joseph V. Schaeffer, Esquire
                                Babst, Calland,
                                Clements & Zomnir, P.C.
                                Two Gateway Center
                                603 Stanwix Street, Floor 6
                                Pittsburgh, PA 15222
                                (412) 394-5499
                                jschaeffer@babstcalland.com
                                Counsel for Amicus Curiae
                                Allegheny Conference on Community
                                Development
                   DISCLOSURE STATEMENT
                PURSUANT TO CIRCUIT RULE 26.1

     Pursuant to Federal Rule of Appellate Procedure 26.1 and D.C.

Circuit Rules 26.1 and 29(b), undersigned counsel certifies:

     Amicus curiae Allegheny Conference on Community Development

(Allegheny Conference) has no parent company and no publicly held

company has a 10% or greater ownership interest in it.

     The Allegheny Conference is a preeminent organization committed

to improving the Pittsburgh region’s economic future and quality of life.

Consistent with its mission, the Allegheny Conference has a vested

interest in advocating for policies that foster economic growth in the

Pittsburgh region and against those that would thwart it. The Allegheny

Conference intends to submit an amicus curiae brief to emphasize the

significant benefits to the Pittsburgh region if the proposed combination

of U. S. Steel and Nippon Steel is completed—and the significant

consequences if it is not.

Dated: February 7, 2025          /s/ Joseph V. Schaeffer
                                 Joseph V. Schaeffer, Esquire
                                 Babst, Calland,
                                 Clements & Zomnir, P.C.
                                 Two Gateway Center
                                 603 Stanwix Street, Floor 6
                                 Pittsburgh, PA 15222


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(412) 394-5499
jschaeffer@babstcalland.com
Counsel for Amicus Curiae
Allegheny Conference on Community
Development




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   NOTICE OF INTENT BY ALLEGHENY CONFERENCE ON
   COMMUNITY DEVELOPMENT TO FILE AMICUS CURIAE
          BRIEF IN SUPPORT OF PETITIONERS

          Pursuant to D.C. Circuit Rule 29(b), the undersigned

represents that he has obtained the consent of Petitioners and

Respondents, via electronic mail communications on February 6, 2025, to

file an amicus curiae brief in support of Petitioners on behalf of the

Allegheny Conference on Community Development.

Dated: February 7, 2025         /s/ Joseph V. Schaeffer

                                Joseph V. Schaeffer, Esquire
                                Babst, Calland,
                                Clements & Zomnir, P.C.
                                Two Gateway Center
                                603 Stanwix Street, Floor 6
                                Pittsburgh, PA 15222
                                (412) 394-5499
                                jschaeffer@babstcalland.com
                                Counsel for Amicus Curiae
                                Allegheny Conference on Community
                                Development




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                     CERTIFICATE OF SERVICE

      I hereby certify that the foregoing Notice of Intent By Allegheny

Conference on Community Development to File Amicus Curiae Brief in

Support of Petitioners was electronically filed through this Court’s

CM/ECF system, which will send a notice of filing to the counsel

registered to receive service through the Court’s CM/ECF system via

electronic filing.

Dated: February 7, 2025          Respectfully submitted,

                                 /s/ Joseph V. Schaeffer
                                 Joseph V. Schaeffer, Esquire
                                 Babst, Calland,
                                 Clements & Zomnir, P.C.
                                 Two Gateway Center
                                 603 Stanwix Street, Floor 6
                                 Pittsburgh, PA 15222
                                 (412) 394-5499
                                 jschaeffer@babstcalland.com
                                 Counsel for Amicus Curiae
                                 Allegheny Conference on Community
                                 Development




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